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                                 EXHIBIT A




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NO.         NAME                    ADDRESS                         VIN NUMBER
  1.        James A. Miller         2880 Locust Circle              5NMSKDAG1AH355041
                                    Indianapolis, IN 46227
    2.      Edgar D. Little         4460 Fay Blvd.                  5XYZHDAG7BG010220
                                    Port St. John, Cocoa FL 32927
    3.      Thomas H. Craft         42855 Highway 31
                                    Brewton, AL 36426
    4.      Betty J. Tewell-Parr    10662 Mountain Village Dr.
                                    Mountainburg, AR 72946
    5.      Michael Wolf            Trlr 62
                                    1401 11th Ave.
                                    Union Grove, WI 53182-1347
    6.      Carl D. Robbins         115 N. 3405 E.                  5XYZGDAG5BG016813
                                    Rigby, ID 83442
    7.      Tate Sloan Sturgeon     7810 14th Street SE             5XYZHDAG5DBG005145
                                    Lake Stevens, Washington
                                    98258
    8.      Paul Scherner           2101 Concord Ct.
                                    Dubuque, IA 52003
    9.      Mary Tylenda            115 Fairview Drive              5NMSKDAG3AH383536
                                    Camp Hill, PA 17011
    10.     Eugene L. Herold        1702 E. Parkway Dr.
                                    Piqua, Ohio 45356-4428
    11.     Michael E. Stillion     4192 Hearthstone Dr.            5XYZKDAG9BG084823
                                    Sarasota, FL 34238
    12.     Bill and Willa Currie   3355 Sunny Brook Trail          5NMSH4AG5AH361620
                                    Spring Hill, FF 34604
    13.     David Smith             9898 Country Oaks Dr.           5XYZK4AG1CG109246
                                    Fort Myers, FL 33967
    14.     Joseph D. and Judy A.   4916 Cypress Ct.                5XYZHDAG5CG097391
            Heeney                  Oak Forest, IL 60452
    15.     John Saviano            37 Oak Ridge Dr.                5XYZKDAG5CG140662
                                    Putnam Valley, NY 10579
    16.     Linda J. Groven         8450 Mohawk Road                5NMSHDAG5AH394732
                                    Colorado Springs, CO 80908
    17.     John R. Johnson II      5554 Swaffer Rd.                5NMSH4AG7AH367130 /
                                    Millington, MI 48746            5XYZHDAG1CG098182
    18.     Ronald Rivard           16 Boyle Ct., #A                5XYZHDAG8BG066988
                                    Fitchbury, MA 01420
    19.     Anthony J. Schrick      4701 Sayle St., Apt. 152        5XYZH4AG6BG042432
                                    Greenville, TX 75401-5572
    20.     Seferino Crollett       2320 Don Onofre Trl NW          5XYZK4AG2BG010658
                                    Albuquerque, NM 87107




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NO.         NAME                   ADDRESS                       VIN NUMBER
  21.       Louella L. Meister     3126 Knoll Ln. NW             5XYZH4AG0BG076527
                                   Rochester, MN 55901-1417
    22.     Larry D. and Barbara   1089 W. Walnut St.            5XYZK4AGHBG025677
            R. Kincade             Kankakee, IL 60901
    23.     Paula Zdan             P.O. Box 33
                                   Cisne, IL 62823-0033
    24.     Cheryl L. Frantz       401 Butts Ave., Apt. 4B       5XYZHDAG6CG099358
                                   Tomah, WI 54660
    25.     John M. Spurgeon       2319 Orchard Lane             5XYZH4AG5CG152406
                                   Lawrence, KS 66049
    26.     Nancy E. Meacham       8309 Norman Creek Trl.        5XYZHDAG2BG006205
                                   Bloomington, MN 55437-3835
    27.     Laura R. Fayfar        928 Wilshire Avenue
                                   Elk Grove Village, IL 60007
    28.     James T. Lubelski      69205 Garver Lake Rd., Lot    5XYZH4AG8CG106388
                                   #111
                                   Edwardsburg, MI 49112-9487
    29.     Michael E. Penp        8834 Buchannan Trail W.       5XYZKDAG7CG131445
                                   Mecersburg, PA 17236
    30.     John Williams          1302 Taylor Ave.              5XYZKDAG8BG022068
                                   Crystal City, MO 630196
    31.     Joseph R. Wojtyna      8632 Langport Dr.             5XYZKDAGXBG060997
                                   Springfield, VA 22152-3209
    32.     Donald L. Brokaw       1212 Dixie Avenue             5XYZH4AG2CG162570
                                   Holly Hill, FL 32117
    33.     William F. Walters     31 Cayuga Rd.                 5NMSH73E58H203091
                                   Canandaigua, NY 14424
    34.     Marilyn Hernandez      17936 Middle Point Rd.
                                   Van Wert, OH 45891-9773
    35.     Allen Vandel           2800 W. Vincent St.           5XYZHDAG5BG028456
                                   Springfield, MO 65810
    36.     Carolyn K. Johnson     20653 Meadowthrash Court      5XYZKDAG6CG112465
                                   Ashburn, Virginia 20147
    37.     Mary L. Ashley         3325 Tampa Street             5NMSK4AG1AH342829
                                   Houston, TX 77021
    38.     Rodney E. Spence       5311 69th Street              5XYZK4AG3CG120099
                                   Urbandale, IA 50322
    39.     Marilyn J. Smith       127 Belmont Ave.
                                   Watseka, IL 60970
    40.     Diana B. Delp          2221 Brittany Ln.             5XYZHDAG7BG038888
                                   Powhatan, VA 23139-6028
    41.     Jeff E. Andrews        31156 180 Street              5XYZKDAG1BG067014
                                   Pickering, MO 64476




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NO.         NAME                    ADDRESS                     VIN NUMBER
  42.       Randy Sargent           5916 Norton Circle          5XYZK4AG2CG120868
                                    Flowery Branch, GA 30542
    43.     Matthew DellaPeruta     9641 Carnoustie Place       5XYZK4AG2BG051985
                                    Bradenton, FL 34211-2405
    44.     Walter A. and           304 Westlane Circle         5XYZH4AG5CG104937
            Karlamae Grisham        Waco, TX 76712
    45.     Cheryl Kornacivich      15 Marc Dr.                 5XYZHDAG0BG064989
                                    Dayton, NJ 08810
    46.     Jane C. Conaway         875 N. Cowboy Canyon        5XYZH4AG3BG065571
                                    Green Valley, AZ 85614
    47.     Max and Debra           N53 W16700 Whitetail Run    5XYZK4AGXBG086029
            Schmiege                Menomonee Falls, WI 53051
    48.     John R. Lystash         1107B Little High Street
                                    Charlottesville, VA 22902
    49.     Arnold L. Dartez        908 Henning Road
                                    Sulpur, LA 70665
    50.     Bryan E. and Patricia   8500 Stonewall Dr.          5XYZH4AG0CG124979
            M. McClain              Vienna, VA 22180-6860
    51.     William Meadows         243 Cardinal Hts.           5XYZK4AG1CG138746
                                    Dadeville, AL 36853-5829
    52.     Daniel J. Meszler       906 Hamburg Drive           5XYZG4AG3BG058915
                                    Abingdon, Maryland 21009
    53.     Paul J. Cubarney        130 Lowery Dr.              5XYZKDAGXBG050311
                                    Valencia, PA 16059
    54.     William F. Hartman &    2101 Chatham Way            5XYZKDAG4BG051924
            Lucinda R. Knepp-       Harrisburg, PA 17110
            Hartman
    55.     Dolores Draina          22 Outlet Road              5XYZKDAG5BG066349
                                    Ballston Lake, NY 12019
    56.     Genece Felty            1735 County Road 354,
                                    Millerville, MO 63766
    57.     Rosalynn B. Capor       601 Crosshill Road
                                    Royersford, PA 19468
    58.     Amanda Rose             2552 W. 82nd Ln., Unit D
                                    Westminster, CO 80031
    59.     Kelly S. Gosnell        128 Carriage Lane
                                    Midway, KY 40347-9781
    60.     Mae MacIntire           61 East Henderson Road      5XYZG4AG6CG155737
                                    Columbus, OH 43214
    61.     Carol Eaton             8453 S. Newcombe Way
                                    Littleton, CO 80127
    62.     Joseph Szabados         8905 Spring Valley Dr.
                                    Mentor, OH 44060




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NO.         NAME                    ADDRESS                        VIN NUMBER
  63.       Maria E. Soto           9507 Loma Drive
                                    Bristow, VA 20136
    64.     Robert L. Campbell      1004 Danbury Lane SE
                                    Decatur, AL 35601-3481
    65.     Diana D. Howell         9187 Robinhood Circle
                                    Westerville, OH 43082-9666
    66.     Annette Roberts         88 Wallace Road
                                    Sturbridge, MA 01566
    67.     Phillip M. Adams        6007 101st Place NE
                                    Marysville, WA 98270-2095
    68.     Debra R. Vahrenwald     13575 S.W. Salal Ct.
                                    Beaverton, OR 97008
    69.     Thomas Lane             517 Buena Vista Dr.
                                    Georgetown, TX 78633
    70.     Zoe P. Allen            14219 Lewisdale Rd.
                                    Clarksburg, MD 20871
    71.     Marilou E. Lindsay      2670 Blackman Road
            and Anthony T.          Geneva, Il 60134
            Lindsay
    72.     Bonnie A. Matchey       36 Cottage Drive
                                    Fairhope, AL 36532
    73.     Javin and Michelle      609 4th Ave. NE
            Bedard                  East Grand Forks, MN 56721
    74.     Julie Harris            4420 Collwood Lane             5XYZH4AG1CG131066
                                    San Diego, CA 92115
    75.     Keith and Beverly       653 S. Melrose Street
            Randall                 Anaheim, CA 92805
    76.     Adalia Joy Jennings     4881 Winter Haven Way
                                    Roseville, CA 95747
    77.     Bonnie Troxel           816 Valley View Cir.
                                    Brentwood, TN 37027-4897
    78.     Elizabeth A. Marsh      430 McKell Road
                                    Chillicothe, Ohio 45601-1536
    79.     Kenneth Patrick         21025 Odom Rd.
                                    Citronelle, Alabama 36522
    80.     Marcia Stauffer         71 E. Lilly Pond Lane
                                    Shelton, WA 98584




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